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                       UNITED STATES     DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS




RUSSELL BOWDEN,
                          Plaintiff,

             V.                                           CIVIL ACTION
                                                          NO.    17-11605-WGY
GROUP 1 AUTOMOTIVE,
LONG TERM    DISABILITY    PLAN;
AETNA LIFE      INSURANCE COMPANY;



                          Defendant.




YOUNG,   D.J.                                                  February 25,       2019

         FINDINGS OF FACT, RULING OF LAW & ORDER FOR JUDGMENT

I.   INTRODUCTION


     Russell Bowden ("Bowden") brings this action under the

Employee Retirement Income Security Act of 1974, 29 U.S.C.

§§ 1001 et seq.      (""ERISA") ,   seeking this Court's review of the

AETNA Life Insurance Company's          (''Aetna")   decision to deny Bowden

benefits under the Group 1 Automotive            ("Group 1") Long Term

Disability Plan      ("the LTD Plan"),     administered and underwritten

by Aetna.       Administrative R.     ("Admin.   R.")   334,    ECF No.    19.

Bowden seeks relief pursuant to section 1132(a)(1)(B) of chapter

29 of the United States Code, which provides that "[a]                    civil

action may be brought . . . to recover benefits due to him under

the terms of his plan,       to enforce his rights under the terms of
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the plan, or to clarify his rights to future benefits under the

terms of the plan."          See Compl. 5, 9, ECF No. 1.                   The parties

cross-moved for summary judgment, but later agreed to proceed as

a case stated.      PI.'s Mot.        Summ.    J.,       ECF No.    46;    Defs.'   Cross

Mot. Summ. J., ECF No. 52; Electronic Clerk's Notes, ECF No. 60.^

Bowden asks this Court to reverse Aetna's decision,                           remand for

further administrative proceedings, and award him attorney's

fees and costs as provided by section 1132(g) of chapter 29 of

the United States Code.             Compl.    9.     Aetna and the LTD Plan^ ask

this Court to affirm i t s decision under the LTD Plan and award


it    costs.   Defs.'   Cross      Mot.   Summ.    J.     2.


        Bowden raises two challenges to Aetna's decision as

administrator of the LTD Plan:                Bowden claims          that Aetna       failed


to:    (i) properly weigh the medical evidence and (ii)                        consider

his contemporaneous award of social security benefits.                              Pl.'s

Mem.    Supp. Summ. J.       (''Pl.'s Mem.")       1, ECF No.        48.     Aetna offers

two ripostes.      Aetna asserts that              (i)    Bowden has not met his




     1 The case stated procedure allows the Court to render a
judgment based on the largely undisputed record in cases where
there are minimal factual disputes.   In its review of the
record, "[t]he [C]ourt is . . . entitled to 'engage in a certain
amount of factfinding, including the drawing of inferences.'"
TLT Constr.     Corp.   v.   RI,    Inc.,    484 F.3d 130,          135 n.6    (1st Cir.
2007)    (quoting United Paperworkers Int'l Union Local 14 v.
International Paper Co.,            64 F.3d 28,          31    (1st Cir.    1995)).

        2 References to Aetna as a party include both Aetna and the
LTD    Plan.



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burden to prove that he is totally unable to fulfill his

occupational duties due to his subjective dizziness and (ii)

Bowden shifted the burden to Aetna to obtain information to

support his claim.          Defs.' Reply Mem. L. Further Supp. Cross-

Mot. Summ. J.         {^^Defs.' Reply'')   1, EOF No.    59.

        Because Bowden failed to bring forward objective evidence

to support his claim of total disability, the Court finds and

rules    that   Bowden i s not entitled to benefits under the LTD


plan.     Judgment will enter for Aetna.

II.     FINDINGS OF FACT


        Group 1 employed Bowden as a car salesman.                 Admin. R.    2,

45.     Group I's Short Term Disability C'STD")                and LTD plans,

which Aetna administered and underwrote,                covered Bowden.        Id.    at

45,   334,   1097.      If Aetna determines that an individual is

disabled within the plan's terms,                the individual is entitled to

benefits.       Id.   at 341.    The LTD plan defines total disability as

follows:     ''[y]ou cannot perform the material duties of your own

occupation solely because of an illness,                injury or disabling

pregnancy-related condition; and [y]our earnings are 80% or less

of your adjusted predisability earnings."                 Id.    (emphasis in the

original)

        The LTD plan further provides that "'[ajfter the first 24

months of your disability that monthly benefits are payable,                         you

meet the plan's test of disability on any day you are unable to



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work at any reasonable occupation solely because of an illness,

injury or disabling pregnancy-related condition."                     Id.    (emphasis

in original).

       The LTD plan defines ''material duties" as duties that are

"normally required for the performance of your own occupation;

and [c]annot be reasonably omitted or modified."                     Id. at 355

(emphasis in the original).          Working "in excess of 40 hours per

week," however,    "is not a material duty."               Id.

       As a car salesman at Group 1, Bowden's role involved "some

desk work," "walking around the car lot," and "light lifting."

Id. at 1001.     Bowden last worked on February 11,                2013.      Id. at

948.    He was then 57 years old.             See id.

       On the same day Bowden stopped working,               he visited his

primary care physician.         Dr. Mark Romanowsky ("Dr. Romanowsky").

Id. at 654.     Due to his reported shortness of breath,                    in the

context of his coronary artery disease and prior stenting.                       Dr.

Romanowsky sent Bowden to a cardiologist for an "[e]mergency

evaluation with further testing."               Id.

       In February and April 2013, Bowden visited a cardiologist.

Dr. Robert Shulman      ("Dr.   Shulman"), with complaints of chest

discomfort    and dizziness.       Id.   at    407-08.     Dr.   Shulman found       his


physical examinations unremarkable, however,                 and concluded that

his dizziness was not cardiogenic.               Id.    at 407-08,    1563.

       In March 2013,   the Ear,     Nose and Throat         ("ENT")    specialist



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Dr. Fred G. Arrigg {''Dr. Arrigg") treated Bowden for dizziness

on a referral from Dr. Romanowsky.                  Id. at 1591.     Dr. Arrigg

summarized Bowden's reported symptoms as follows:

         Ever since [the snowstorm during which Bowden worked
         outside] he has been bothered by this dizzy sensation
         that comes and goes. He said it is usually present every
         day but can disappear for most of the day at times. . . .
         He   does    drive    but    is   reluctant    to   do    so   on   most
         occasions. He denied any true spinning sensation. . . .
         He denied any fluctuation in hearing, new onset tinnitus
         or fullness in the ears.    He also denied any slurred
         speech, double vision, or mental confusion.

Id. at 431.          Dr. Arrigg conducted a Romberg test^ in order to

evaluate Bowden's ability to balance.                  Id. at 433.      The test

came back negative,           thus indicating that Bowden did not have

difficulties balancing.              See id.      Bowden also underwent

rotational chair vestibular studies, which yielded "normal"

results,      during a follow-up visit in March 2013.                Id. at 433,

436.      After Bowden's first visit.             Dr. Arrigg opined that

Bowden's complaints did not reflect a vestibular disorder.                          Id.

at   433.


         In March 2013,       Dr. Romanowsky filled an Attending Physician

Statement      ("APS")     in support of Bowden's STD claim.             Id. at

1607-09.       Dr. Romanowsky later concluded in July 2014 in his APS

for Bowden's LTD claim that Bowden "cannot consistently maintain



         3 "Romberg is a diagnostic test through which to assess
neurological functions for balance caused by central and
peripheral vertigo."  Defs.' Counterstatement of Material Facts
SI 24,    ECF No.    54.


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a work day because of his condition'' and thus could only work

one hour a day,         one day a week.              Id. at 740.

        In May 2013, Bowden saw neurologist Dr. Min Zhu, M.D.,

Ph.D.    (''Dr.   Zhu")    twice for his dizziness and palpitations.                  Id.

at 505,    508.     Dr.    Zhu ordered an MRI and MRA of Bowden's brain

and a carotid artery ultrasound to exclude a cardiac problem or

an endocrine tumor.              Id.   at 507. Those follow-up tests did not

reveal any such issues.                Id. at 419,       423-24,   507.    In her

physical exams.          Dr.    Zhu did not find typical vertigo symptoms or

nystagmus.        Id.   at 506-07,       509.        Nystagmus is a vision condition

that can impact balance and coordination.                        Defs.'

Counterstatement of Material Facts f                     125,   ECF No.   54.   She

concluded that Bowden might also be suffering from anxiety.                           Id.

at 510.     Dr.    Zhu suggested "further evaluation by ENT or neuro-

otology [specialists] at academic centers" and suspected a

"significant psychologic component in his claims."                          Id. at 507.

        At an appointment on June 7, 2013,                  Dr. Romanowsky did not

find that Bowden had nystagmus and found that Bowden "was able

to ambulate."           Id. at 1515.       Bowden returned to Dr. Romanowsky's

office on June 20,             2013.    Id. at 1517.        Dr. Romanowsky and

Bowden "discussed [Bowden's]               case with a specialist from the

Mayo [Clinic]."           Id. at 393, 1517.            The Mayo Clinic specialist




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''suggested the diagnosis of Chronic Subjective Dizziness'' ("CSD")

and a    trial of Fluoxetine."          Id.   at 393.     "Fluoxetine is

intended to be used for the treatment of major depressive

disorder, Obsessive Compulsive Disorder, Bulimia Nervosa, and

Panic Disorder."        Id. at 591.       Dr. Romanowsky also noted in June

2013 that Bowden was "willing to try" Fluoxetine.                    Id. at 1517.

At that same visit.       Dr.    Romanowsky observed that Bowden was

"[s]till not able to work."             Id.

        At a later visit,       on August 12, 2013,        Dr. Romanowsky

reported that Bowden did not have "focal neurological" deficits,

or nystagmus.      Id. at 1542.         He also questioned whether Bowden

suffered from a "chronic anxiety syndrome" and remarked that

Bowden was undergoing psychotherapy.                Id.   After an appointment

eight days later.       Dr. Romanowsky reported that Bowden had "focal

neurological issues."           Id.   at 1521.    That same day.      Dr.

Romanowsky recorded that Bowden's upper and lower extremities

showed "good strength."           Id.

        After a visit one year later.            Dr. Romanowsky noted that

Bowden's "chief complaint" was depression.                  Id.   at 924.

        In July 2013,   the psychiatrist Dr. Chand Bhan {"Dr. Bhan")

diagnosed Bowden with anxiety and adjustment disorder but did



     '' "Chronic Subjective Dizziness syndrome is a poorly-defined
neurological condition that is not currently considered a mental
disorder although psychiatric comorbidity (particularly anxiety
disorder) is quite common." Admin. R. 1158.


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not specify Bowden's disorders' origins.                  Id. at 493.       Dr. Bhan

described Bowden's mood as anxious and continued Bowden's

treatment of anxiety disorder with Fluoxetine.                    Id. at 490-491.

       In August and December 2013,             Bowden visited a vascular

neurologist,    Dr. Jason Viereck {^'Dr. Viereck") ,              for the

dizziness he reported was progressing.                Id. at 500,       503.    Dr.

Viereck stated that he did ''not know of a neurological syndrome

that is consistent with this clinical picture."                    Id. at 504.

Dr.   Viereck described Bowden as "well nourished,                 in no

distress," but noted that "he has a               constant dizziness that is

difficult    to describe."     Id.   at    503.     Dr.   Viereck also observed


that Bowden has "difficulty concentrating" but "no depression or

anxiety."     Id.   Bowden reported no changes in hearing and that

he had high-pitched tinnitus.             Id.     In his physical examination.

Dr. Viereck found that Bowden could "[m]aintain[] posture with

eyes closed," "walk on       [his]   heels and toes," but could not

"maintain tandem stance with eyes closed."                  Id.   at 504.      He

noted that Fluoxetine "helps take the edge off                    [Bowden's]

symptoms."     Id. at 503.     During Bowden's December 2013 follow-up

visit.   Dr. Viereck conducted another physical exam of Bowden,

and observed that his "examination is not significantly

changed."     Id. at 501.    Dr. Viereck concluded that "symptomatic

treatment with      [Fluoxetine]     [wa]s reasonable."           Id.

       In November 2013, Aetna's physician review of Bowden's STD



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claim described his occupation as ^'Sales Counselor," which

constitutes a "light physical demand level occupation."                  Id. at

1186.     The review considered Dr. Romanowsky's reports from

Bowden's visits from March to August 2013.

        In July 2014, Dr. Romanowsky answered questions in Aetna's

Capabilities and Limitations Worksheet              ("CLW") within Aetna's

processing of Bowden's LTD claim.               Id. at 742.   He answered the

question "[c]an the Patient operate a motor vehicle?"

affirmatively.       Id.     Dr.   Romanowsky also observed that Bowden

could continuously walk and lift up a hundred pounds or more.

He further answered "yes occasionally" about whether Bowden

could climb, pull, push,           grasp firmly with his hands, and stoop.

Id.     He noted that Bowden "frequently" was able to reach

forward,    carry,   perform fine and gross manipulation,            sit, and

stand.     Id.   He opined that Bowden has "no limitation" speaking

or hearing but did have "occasional blurred vision" and had

"depth perception" issues related to his peripheral vision.                     Id.

He noted that Bowden was not able to crawl,               kneel,   reach above

his shoulder,     bend,     or twist.    Id.

        In July 2014,      Dr. Romanowsky then completed an APS in

support of Bowden's LTD claim.            Id.   at 739.    He stated that he

first prescribed restrictions on Bowden's work activities on

February 21,     2013,     due to Bowden's subjective chronic dizziness.

Id.   at 740.    He stated that Bowden "cannot consistently maintain



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a workday because of [his] condition."               Id.

       From December 2014 until April 2015,            Bowden underwent

chiropractic treatment for his neck, mid-back, and his

headaches.      Id.   at 541,   590.     Bowden's chiropractor.          Dr.    Steven

Saro C'Dr. Saro") , concluded that Bowden had ''Hypolordosis of

lumbar spine . . .       [a] sign of disc degeneration."                Id. at 571.

Dr. Saro also discussed Bowden's multiple medications,                        some of

which cause dizziness as          a   side effect.    Id.   at   564.     Over these


4 months of frequent visits by Bowden Dr. Saro observed that

Bowden in general,       considered himself to be in good health and

reported exercising moderately on a regular basis.                      Id.

       In July 2014, Aetna conducted an LTD Claimant interview

with Bowden.      Id.   at 283.       Bowden reported that:

            [H]e drives very little and only when he has too
      [sic].   He said last year he drove 2 hours to Vermont
      and felt good when he got there but it took him 6
      hours on the way home because he had to many times on
      the way home and had to take the back roads[. ]   He is
      able to take care of his personal hygiene on his
      own[.]   He is able to do house chores to a degree.    He
      can't getting things from the low shelf from the
      refrigerator.   He said he just has to be careful.    He
      is usually able to cook and prepare meals, not all the
      time but usually.   He is able to do his grocery
      shopping. He said he will walk to the store. He said
      the inside of the store is overstimulating and gets
      more dizzy when he does it and takes his time. [H]e
      tends to bump into people. He said he is not steady at
      all in a store but i t ' s something he does. He said
      sometimes he will leave prematurely. He carries the
      groceries home.

Id.   at 283.    In response to the question of what were the




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"current barriers preventing [him] from returning to [his]

occupation," he answered that "dizziness interferes [with] his

walking [and] thinking" and he "can't do any part" of his

previous job.      Id. at 327.

       In July 2014, Dr. Sally M. Wilkinson {"Dr. Wilkinson"),

Licensed Clinical Psychologist,          id. at 390-96, and Dr. Theresa

Oney-Marlow ("Dr. Oney-Marlow"),             Physical Medicine and

Rehabilitation specialist, conducted internal medical reviews of

Bowden's LTD claim for Aetna,          id.    at 402-11.        They both

concluded that Bowden had "adjustment disorder with mixed

anxiety and depressed mood."           Id. at 390,       402.     Both doctors

also came to the result that Bowden did not provide medical

evidence that he was functionally impaired from February 2013

until the time of review in July 2014.                 Id.    at 396,   410.

Neither reviewer physically examined Bowden.                    Id. at 390-97,

402-11.


      On February 28,      2013,   Bowden applied for STD benefits under

Group I's STD Plan,       insured by Aetna.        Id.       at 1076.    Bowden's

STD claim was approved with a disability onset date of February

12, 2013.    Id. at 1115.        The STD benefits approval period ran

from February 26,     2013 until the maximum benefit end date of

August 12, 2013, although Aetna only approved Bowden's claim

through April 20,     2013.      Id.   On April 30,          2013, Aetna closed

the   STD claim.    Id.   at   1000.   Aetna    sent    Bowden his      notice of




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denial on May 3, 2013.                 Id. at 1117-18.       On September 16, 2013,

Aetna received Bowden's appeal of the denial of his STD benefit

claim.        Id. at 1143.          Aetna upheld the denial on December 11,

2013.     ^      at 1193-94.

        On June 5,       2014, Aetna received Bowden's application for

LTD benefits based on chronic dizziness and chronic rhomboid


strain.        Id. at 1379.           On July 22,       2014, Aetna denied Bowden's

LTD claim.        Id.    at 152-54.        On January 16,       2015,   Bowden appealed

his LTD claim denial.                 Id. at 707.       By letter of August 27,

2015, Aetna upheld the denial.                    Id.   at 179-81.

        Since August 12, 2013,             Bowden has received Social Security

disability benefits,                id. at 941,    at a monthly rate of $1,714 per

month,    id.    at 5.

        On August 26,          2017, Bowden filed a complaint in this Court

for review of Aetna's decision to deny him LTD benefits.                         Compl.

1.


III.    RULINGS    OF LAW


        Bowden raises the following challenges to Aetna's final

decision: Aetna          (i)    improperly weighed the medical evidence and

(ii)    failed to take the award of social security benefits into

account.        PI. Mem.       1.     In response, Aetna contends that Bowden

has not met his burden to prove that he is totally unable to

fulfill his occupational duties due to his subjective dizziness.

Defs.' Reply 8.          Aetna further suggests that Bowden improperly



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attempts to shift his burden to obtain benefit information in

support of his claim.             Id. at 8.

        A.     Standard of Review


        The Court reviews Aetna's decision to deny Bowden LTD

benefits de novo because the LTD Plan does not give Aetna

discretionary authority to determine the eligibility for

benefits or to construe the terms of the plan.                    See Firestone

Tire & Rubber Co. v.         Bruch,     489 U.S.   101,   109,   115    (1989).

        "[D]e novo review generally consists of the court's

independent weighing of the facts and opinions in [the

administrative]       record to determine whether the claimant has met

his burden of showing he is disabled within the meaning of the

policy."      Orndorf v.     Paul Revere Life Ins. Co.,           404 F.3d 510,

518    (1st Cir. 2005).          The plaintiff bears the burden of proving

his disability.          Richards v. Hewlett-Packard Corp.,              592 F.3d

232,    239   (1st Cir.    2010).

        The Court does not give special deference to the opinion of

Bowden's treating physician.              See Black & Decker Disability Plan

V.    Nord,   538 U.S.    822,    831   (2003); Orndorf,    404 F.3d at 526;

Parnaqian v.       Metlife Disability Ins.         Co.,   Civ. A.      No.   14-14254-

IT,    2017 U.S.    Dist. LEXIS 162474, at *2-3           (D. Mass.      Sept.    29,

2017)    (Talwani,    J.).

        B.    Weight Given to Medical Evidence




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     Bowden argues that the plan administrator failed to weigh

properly the medical opinion evidence and determine whether

Bowden could perform the duties of his own occupation.                     Pi's

Mem. 13.    First, according to Bowden, the subjective nature of

his chronic subjective dizziness might not allow for objective

testing, so the administrator should have put more weight on the

subjective evidence.        See Pl.'s Mem. at 14-15.            Second, Bowden

points to two treating physicians' reports by Drs. Viereck and

Romanowsky that he claims the independent reviewers of his case

did not take into account in determining his limitations.                     Pi's

Opp'n at 6-7.     Aetna counters that record shows that both

medical reviewers considered all treating physicians'                 reports.

Defs.'   Counter Statement of Facts           ^   90.


     Bowden's first argument falters because he needed to

provide objective evidence of his inability to work,                 not his

medical diagnosis.      A plan administrator cannot "require

objective evidence to support          [ERISA]      claims based on medical

conditions that do not lend themselves to objective

verification,    such as fibromyalgia," but can "require objective

support that a claimant is unable to work as a                 result of such

conditions."     Desrosiers v.       Hartford Life & Accident Co.,           515

F.3d 87,   93   {1st Cir.   2008);    see also Tracia v.        Liberty Life

Assurance Co.    of Bos.,    164 F.    Supp.      3d 201,   223(D. Mass.   2016)

(Dein, M.J.)     (stating that "Liberty reasonably interpreted the



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Policy to require objective evidentiary support for

[plaintiff's] claim of disability"); cf. Tebo v. Sedqwick Claims

Mqmt. Servs., 848 F. Supp. 2d 39,               62   (D. Mass. 2012)   (Saylor,

J.)   (ruling that the denial of benefits was not arbitrary or

capricious where the medical reviewers found that the subjective

evidence for claimant's complete visual disability did not meet

the standard set by generally accepted guidelines).

       Bowden claims total disability because of the "consistent

nature of [his] complaints" and "their debilitating

description."         Pl.'s Mem.   13.   Aetna argues that it based its

decision on the "lack of evidence of a functional impairment."

Defs.'   Reply 4.        Aetna asserts that "Bowden failed to produce

any objective medical evidence that he was functionally impaired

from working at his own occupation."                 Id.

       Bowden does not recognize the difference between his

"debilitating descriptions" of his symptoms and objective

evidence of his inability to return to his own occupation.

Pl.'s Mem.      13.    In his LTD Claimant Interview,           Bowden reported

that "he drives very little and only when he has to."                      Admin.   R.

20. He further opines that "he can't do any part of his job."

Id.   at 327.     He further stated that "dizziness interferes                [with]

his walking      [and]    thinking."     Id. at 22.        Nevertheless,    these

self-reported limitations do not warrant the inference that his

CSD symptoms cause total and permanent disability because



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Bowden's statements do not constitute objective evidence that he

cannot perform those tasks.

       Second,    the record belies Bowden's protest that Aetna's

medical reviewers did not consider Drs. Romanowsky's and

Viereck's findings.         See id. at 179, 390-96,        402-411.          Aetna's

appeal decision letter explains that Aetna's medical reviewers

analyzed Drs. Romanowsky and Viereck's reports.                  Id. at 179.

Moreover,      Drs. Wilkinson and Oney-Marlow's physician review

sheets show that they reviewed both doctors'               findings.          Id. at

394,   409.     Thus,   the record warrants the inference that Aetna

reviewed Dr. Romanowsky's and Dr. Viereck's opinions to which

Bowden   refers.


       Because    the   standard i s de   novo   this   Court   reviews       the


question of Bowden's disability independently.                  Orndorf,          404

F.3d at 526.       Treating physicians' opinions do not necessarily

deserve more weight in this analysis.              See Gross v.     Sun Life

Assurance Co. of Can.,        880 F.3d 1, 14      (1st Cir.     2018)       (citing

Orndorf,      404 F.3d at 526).    Where, however,        the disability

determination turns on "the claimant's credibility .                    .    . the

impressions of examining doctors sensibly may be given more

weight than those who looked only at paper records."                        Id.

       The Court finds that most of Drs. Romanowsky and Viereck's

reports go to their medical diagnosis of CSD as opposed to

whether Bowden credibly claims he cannot work.                  To the extent



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that they go to Bowden's ability to work, the Court observes

that both doctors contradict themselves in various documents

about    Bowden's a b i l i t i e s .


        Dr. Romanowsky reported Bowden had ''some rotary nystagmus

on vertical gaze" in his visit in November 2013.                           Admin. R.

1450.     Dr. Viereck found in August 2014 that Bowden "could not

maintain [a] tandem stance with eyes closed."                            Id. at 501.

Bowden's precise ailment is not necessarily material for

resolving the dispute about his disability to fulfill his job

duties.      See Boardman v.            Prudential Ins.   Co.       of Am.,       337 F.3d 9,

16 (1st Cir. 2003)           ("[E]ven if the diagnoses are established,

[plaintiff's] physical abilities are not so diminished as to

prevent her from performing the duties of her own or any other

similar occupation.").

        Aetna further argues that the objective evidence Bowden

presented was inconsistent with the totality of the

administrative record.              Defs.'    Reply 3.    Aetna asserts that all

of his treating doctors,                other than Dr.    Romanowsky,         "agreed that

he can walk,       sit, talk and think straight .               .    .    [and]   drive a

car.     These activities are all necessary for him to be able to

perform the material duties of his own occupation of a car

salesman."        Id.   at   2.


        Even though the treating physicians'                findings show some

limitations of his gaze and gait,                  they do not reveal how these



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limitations might affect his ability to fulfill his material

duties at his occupation.           See Admin. R.       501,   1450.

Importantly, they do not explain why Bowden could not modify his

duties.     These findings did not explain for example, why he

could not do some desk work and why he cannot from time to time

"walk[]    around in the car lot."           Id.   at 1001.

        Bowden further argues that Dr. Romanowsky found in Aetna's

APS and CLW forms from July 2014 that he ^^cannot consistently

maintain a workday because of          [his]       condition."    Pl.'s Mem.       10

(quoting Admin.     R.   740).

        Dr. Romanowsky,    however,    contradicts himself in the same

document.     For instance,      Dr. Romanowsky acknowledges that Bowden

could ""drive a car," ""constantly lift up a hundred pounds or

more,    and ""walk."    Id.     at 742.     Moreover,    notwithstanding

Bowden's dizziness,       Dr.    Romanowsky asserted that Bowden could

""perform repetitive motion," ""stoop," and ""stand."                   Id.

These descriptions of Bowden's day-to-day activities do not show

any severe limitations.          Moreover,        Dr. Romanowksy does not

explain how he is able to infer Bowden's total disability given

the information he provided in the CLW.

        The conclusion that Bowden's disability is not just total

but also long-term^ is also inconsistent with Dr. Romanowsky's



        s In the CLW, Dr. Romanowsky did not give any indication of
how long Bowden would be totally disabled.                 Admin.      R.   742.


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earlier finding that selective serotonin reuptake inhibitors

"may help mitigate the symptoms."                 at 924-25.        If medication

eventually could ameliorate his symptoms. Dr. Romanowsky could

not conclude that these symptoms are permanent.

      Finally, the record does not show that Dr. Romanowsky, as

Bowden's primary care physician,         treated Bowden with a frequency

and intensity that would be justified were Bowden's symptoms as

severe as Bowden characterizes them.             Dr.    Romanowsky's CLW is

from June 2014,    and,   at that time,      Bowden had not even scheduled

another appointment with him.          See id. at 739,       742.

      Likewise,   Bowden put forward Dr. Viereck's findings to show

his limited functionality.          Pl.'s Mem.    16.    Bowden,    however,

quoted Dr. Viereck's report out of the context of its overall

findings.     Admin. R.   500-04.     Far from finding that Bowden is

totally disabled,      Dr. Viereck determined that Bowden had normal

motor strength and sensory abilities.             Id. at 504.       He did not

prescribe any medications for Bowden but suggested that Bowden's

current    treatment   with   Fluoxetine was     "reasonable."        Id.   at   503-


04.   Even if Dr. Viereck's finding about Bowden's inability to

maintain a tandem stance with his eyes closed were read out of

context.    Dr. Viereck never opined on how his finding affects

Bowden's fulfillment of his job duties.

      Dr. Viereck's finding needs to be compared to other

treating physicians'      findings on Bowden's purported impairment.



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From December 2014 until April 2015, Dr. Saro treated Bowden.

Id♦   at 541,      590.    In March 2015,     Dr. Saro found "in general,           the

patient considers himself to be in good health" and reported

that Bowden "state[d] that he performs moderate exercise on a

regular basis."®           Id. at 590.

       Thus,      Drs. Romanowsky and Viereck's findings do not show

that Bowden was totally disabled.

       C.        Aetna's Failure to Address Bowden's Social Security
                 Disability Insurance Benefits

       Bowden argues that the plan administrator failed to take

into account that Bowden was granted Social Security disability

benefits.         Pl.'s Mem.       20. "[B]enefits eligibility determinations

by the Social Security Administration," however,                    "are not

binding on disability insurers."                   Richards,   592 F.3d at 240

(quoting Pari-Fasano v.              ITT Hartford Life and Accident Ins. Co.,

230 F.3d 415,        420   (1st Cir. 2000)).          To qualify for disability

benefits under a plan, a claimant must satisfy the plan's

definition of disability, not the definition of disability under

the Social Security Act.              See Matias-Correa v.        Pfizer,   Inc.,   345

F.3d 7,     12    (1st Cir.    2003).     A positive decision under the

Social Security Act           (the "Act")    "should not be given controlling

weight except perhaps in the rare case in which the social



     ® Bowden reported to Dr. Saro in February 2015 that he had
"been very active with shoveling snow which is aggravating his
condition."        Admin.     R.   565.



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security statutory criteria are identical to the criteria set

forth in the insurance plan."            Morales-Alejandro v. Medical Card

Sys.,    Inc.,    486 F.3d 693,     699-700    (1st Cir.   2010)    (quoting Pari-

Fasano,    230 F.3d at 420).        The claimant has to show that the

relied-upon Act criteria and the plan's relevant criteria are

identical.        Id.    If the claimant does not argue that the plan's

criteria are identical to the Act's criteria,                the claimant has

"waived that strand of argument."              Richards,    592 F.3d at 240.

Nevertheless, the fact that Social Security has awarded benefits

to a claimant is "relevant evidence of disability."                      Cowern v.

Prudential Ins. Co. of Am.,           130 F. Supp.    3d 443,      468   (D. Mass.

2015)    (Burroughs,         J.).

        Aetna argues that Bowden failed to compare the Social

Security Administration's           (the "Administration")         standards for

awarding Social Security disability benefits to the applicable

disability test for his own occupation.               Defs.'    Reply 9.      Bowden

counters that Aetna failed to distinguish its LTD claim decision

from the Social Security disability decision.                  Pi's Mem.     20.

Bowden asserts that both Social Security and the LTD Plan use

"attendance, persistence and pace" to define total disability.

PI.'s    Mem.    13   n.4.


        Bowden does not compare the LTD Plan and the Act's criteria

to support giving the Administration's decision controlling

weight.     He simply relies on one criterion used under the Act.



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Id.    To qualify for disability under the LTD Plan, however,

Bowden needed to show, among other things, that he could not

'"perform the material duties" of a car salesman.                      See Admin. R.

341.    The LTD Plan defines          "material duties"        as    duties which


"[cjannot be reasonably omitted or modified."                       Admin. R.    355.

As matter of fact,         the Act's criterion "attendance, persistence,

and pace," which Bowden cites, is far more generous to claimants

than the LTD plan's definition of disability because the LTD

Plan does not deem a claimant disabled if their employer can

reasonably omit or modify their duties.                    See id.     Here,    Bowden

failed to prove that he cannot modify his work day to

accommodate breaks.             Therefore,    the Social Security

Administration's decision to grant disability benefits does not

control    this   case.


       Bowden further complaints that Aetna does not "even

mention[]    the occurrence in its denial letter."                    Pl.'s Mem.    20.

He asserts that Aetna should have "retrieve[d]                      medical records

from the    [Social Security Disability Insurance]                   file,   which [he]

had authorized."          Id.    Aetna asserts      that    Bowden had the burden


of proof to provide all information that purportedly supports

his disability claim.             Defs.'   Reply 8.

       Under ERISA, an administrator must "provide adequate notice

in writing to any participant or beneficiary whose claim for

benefits under the plan has been denied,                   setting forth the



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specific reasons for such denial, written in a manner calculated

to be understood by the participant."              29 U.S.C. § 1133(1).          The

plan administrator is ''not entitled to ignore the [Social

Security Disability Insurance] award simply because the formal

.    .    . award letter was not before it."        Cowern,     130 F.   Supp.   3d

at       468.


           Plan administrators must inform claimants that their file


is missing their Social Security Disability Insurance letter and

furnish claimants with the opportunity to send the letter as

well as any other information the plan administrator needs to

evaluate the Administration's disability determination.                    See id.

"'ERISA's notice requirements are not meant to create a system

of strict liability for formal notice failures';                 rather,   the

beneficiary need only be         'supplied with a statement of reasons

that, under the circumstances of the case, permit a sufficiently

clear understanding of the administrator's position to permit

effective review.'"          Tebo,   848 F. Supp. 2d at 56 (quoting Terry

V.       Bayer Corp.,   145 F.3d 28,   39   (1st Cir.   1998)   (holding that

review process is sufficient if denial letter defines plan's

disability standard, states specific reasons for denying claim

and, if plan administrator is in direct contact with claimant,

assuring understanding).

           Even if the plan administrator fails to furnish the

requisite notice,         however,   the claimant must show prejudice in



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order to gain relief.        See id. at 56; see also Dickerson v.

Prudential Life Ins. Co.^       574 F. Supp.      2d 239,      249 n.l2   (D.

Mass. 2008)       (citing Terry, 145 F.3d at 39))        ("'The Court also

notes that,       even if the letters were technically deficient,               [the

claimant] would have to prove actual prejudice in order to be

entitled to relief.").        A claimant fails to show prejudice when

the claimant ""has not presented any evidence that implies that a

different outcome would have         resulted had the notice been in


formal compliance with the regulations."               Tebo,    848 F. Supp.     2d

at 56    (quoting Terry,    145 F.3d at 39).

        Although here Bowden's award letter is not included in the

Administrative Record,       Aetna's administrative record shows that

Bowden has been receiving Social Security disability benefits.

Admin. R.    5.    Thus, even if Bowden did not provide Aetna with

his award letter, the plan administrator acquired actual

knowledge of Bowden's award of Social Security benefits through

its inquiry about his then-current income.               Id.

        Aetna's failure to ask for specific information about

Bowden's Social Security award in its letter denying Bowden's

LTD claim does not aid Bowden.             See id. at 152-54.         Aetna argues

the letter '"encouraged [Bowden]           to provide diagnostic testing or

narrative reports detailing how Bowden's condition impacted his

daily life."        Defs.' Mem. Law Opp'n PI.'s Mot.           Summ. J. And

Supp. Their Cross-Mot.       Summ.   J.    ("Defs.'   Mem.")    16,   EOF No.   53.



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The denial       l e t t e r states that   ""it was   determined that there         is    a


lack of medical evidence to support impairment from the

performing the material duties of your own occupation."                          Admin.

R.   153.     Further,    the denial letter offers to "review any

additional information you care to submit."                    Id.      Thus, Aetna

not only informed Bowden of its decision on the evidence, but

also indicated that he should send Aetna additional                       information


supporting his claim.             As a consequence, the totality of the

record persuades this Court that Aetna made clear to Bowden why

i t denied his claim and what they needed to review it.

        Finally, Bowden did not show how,             even if Aetna had

mentioned the Social Security award in its denial letter and

retrieved the medical records contained in his Social Security

file,    see Pi's Mem.      20,    it would have perfected Bowden's LTD

claim.       See Dickerson,       574 F.   Supp.   2d at 249 n.l2.         As such,

Bowden failed to demonstrate that Aetna's process caused him

prejudice.

        D.      Recovery of A-t-borney's Fees and Costs

        Bowden requested attorney's fees and costs in his complaint

and Aetna asked for costs in its cross-motion for summary

judgment.        Compl.   9; Defs.'     Cross Mot.     Sum.   J.   2.    Neither party

briefed the issue.          See generally Pl.'s Mem;           Defs.'     Mem;   Pl.'s

Mem.    Opp'n Defs.' Cross-Mot. Summ. J. And Reply Further Supp.

Mot.    Summ.    J.,   ECF No.    57;   Defs.'   Reply.   Under section



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1132(g)(1) of chapter 29 of the United States Code, this Court

has discretion to '"allow a reasonable attorney's fee and costs

of action to either party."           Giannone v. Metropolitan Life Ins.

Co.,   Civ. A.    No.   02-11119   (RGS),    2004 U.S.    Dist.    LEXIS 13280,     at

*4    (D. Mass.   2004)   (Steams,    J.);     see also Twomey v.        Delta

Airlines Pilots Pension Plan,          328 F.3d 27,       33    (1st Cir.   2003)

(reviewing grant or denial of attorney's fees for abuse of

discretion) .

       The Court proceeds to consider whether Aetna ought receive

its costs using the same general guidelines which apply to fees

and costs in its interpretation of 29 U.S.C. § 1132(g)(1), which

speaks to both.         The First Circuit has identified five non

exclusive factors that a court should consider when ruling on an

application for fees and costs under ERISA:

       (1) the degree of bad faith or culpability of the losing
       party;  (2) the ability of such party to personally
       satisfy an award of fees;    (3) whether an award would
       deter other persons acting under similar circumstances;
        (4)   the amount of benefit to the action as conferred on
       the members of the pension plan;             and   (5)     the   relative
       merits of the parties' positions.




     '' Because judgment will enter against Bowden, he may not
recover his attorney's fees.   Cf. Gross v. Sun Life Assurance
Co., 880 F.3d 1, 22 (1st Cir. 2018)(ruling that fees eligibility
depended on a certain degree of success, such as changing to a
less deferential standard of review and remanding the claim back
for    reconsideration of claim for benefits).


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Gray v.     New England Tel.       and Tel.      Co.,    792 F.2d 251,       257-258

(1st Cir.      1986).    The Court need not consider every factor,                     and

no one factor is dispositive.              See id. at 258.

       The First Circuit has thus rejected ""a presumption in favor

of awarding fees to a prevailing plaintiff in ERISA benefits

cases."     Colby v. Assurant Emp.             Benefits,    818 F.    Supp. 2d 365,

384   (D. Mass. 2011)       (''Colby II"); see also Colby v. Assurant

Emp. Benefits,       635 F. Supp. 2d 88,          91    (D. Mass.    2009)    ("Colby

V')   (awarding plaintiff attorney's fees and remanding the case

to the plan administrator for reconsideration).

       The first prong justifies an award of attorney's fees in

cases where the non-prevailing plaintiff has acted in bad faith.

For example, the First Circuit in Twomey held that the district

court did not abuse         i t s discretion when the d i s t r i c t court


denied a prevailing defendant attorney's fees because the

plaintiff did not sue in bad faith and the district court did

not want to deter other plaintiffs with valid claims.                          328 F.3d

at 33.      Similarly,     in Gray,     the First Circuit affirmed the

district court's denial of attorney's fees on the ground that

the Court would "not equate failure of proof with bad faith."

792   F.2d a t   259-60.


       Here,     Bowden's claim was not without any merit.                   His claim

was   not   frivolous:     the   fact   that    one    administrator had awarded


him disability benefits could make him reasonably believe he



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could use the award as objective evidence for his claim of total

disability with another administrator.               See Admin. R.       5,   46.

Further, Aetna lacked discretion under the LTD plan,                 so Bowden's

claim faced de novo, as opposed to arbitrary and capricious,

review.      Cf. Giannone,   2004 U.S.   Dist.   LEXIS 13280,       at *7-8 &

n.4   (pointing out that the ''arbitrary and capricious" standard

is a "high legal barrier" to a successful district court claim).

Bowden had some grounds to believe that a new set of eyes might

have weighed his evidence differently since his complex medical

record showed inconsistent assessments of physicians.                     See id.

at *7 & n.4     (determining that plaintiff faced an uphill battle

to making her case based on a complex medical record that

confused some of her physicians).            Thus,    the first prong does

not justify awarding costs to Aetna.

        The "second factor was intended primarily to limit the

award of attorneys'      fees against parties who could not afford

them."     Colby II,   818 F. Supp. 2d at 385; Cottrill v. Sparrow,

Johnson & Ursillo,      Inc.,   100 F.3d 220,    227    (1st Cir.    1996)         ("An

inability to afford attorneys'        fees may counsel against an award

but the capacity to pay, by itself, does not justify an award."

(internal citation omitted)),        abrogated on other grounds by

Hardt v.     Reliance Standard Life Ins.       Co.,    560 U.S.    242    (2010).

Here,    the Social Security administration has awarded Bowden

benefits throughout the review of his LTD claim.                  Admin.      R.    5.



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This suggests that Bowden cannot afford Aetna's costs.             Thus,

his likely inability to pay weighs against ordering him to pay

Aetna's   costs.


      The third prong of deterrence weighs in favor of Bowden in

this case.    'MT]he deterrent value of a fee award is

considerable."     Colby II,   818 F. Supp. 2d at 385.       Aetna's

medical reviewers diagnosed Bowden with "adjustment disorder

with mixed anxiety and depressed mood," which may cause

psychological impairments.      Admin. R. 390, 402.        If the Court

ordered Bowden to pay Aetna's costs, other similarly situated

claimants — some of whom may have stronger claims than Bowden -

- might not try to seek review of their claims if they face a

much higher financial risk than claimants with physical

disabilities which are easier to prove.          See Colby II,     818 F.

Supp. 2d at 385    ("[P]olicyholders benefit from plan

administrators' equal treatment of claims arising from physical

and mental disabilities.").       Thus,    the first,   second,   and third

prongs of the five-factor test counsel against an award of costs

to Aetna.    Accordingly, the Court denies Aetna's motion for

costs.


IV.   CONCLUSION


      For the foregoing reasons,     the Court GRANTS Aetna's cross-

motion for summary judgment, ECF No.         52, and DENIES Bowden's




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motion for summary judgment, ECF No.     46, and the parties'

requests for attorney's fees and costs, ECF Nos. 1, 52.

     SO ORDERED.




                                            WILLIAM G.   YOWNS
                                            DISTRICT   JUD




                                  [30]
